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015`4&$ \\
IN THE UNITED STATES DISTRICT COURT @~. l
FOR THE WESTERN DISTRlCT OF TENNESSM@, z>&,,_

   

EASTERN DIVISION
UNITED STATES OF AMERICA, §
ll
Plaintiff, ll
lt
VS. § Civ. No. 04~1058-T/An
§ Crim. No. 99-10005-T
I-IAROLD LONG, §§
ll
Defendant. §

 

oRDER GRANTING LEAVE To AMEND
oRDER CoNsTRUING FILING As MoTloN PURSUANT To
28 U.s.C. § 2244(b)(3)
AND
oRDER TRANSFERRING MoTioN PURSUANT To 23 U.s.C. § 2244(b)(3)
To uNITED sTATES coURT oF APPEALS FoR THE siXTH CIRCUIT

 

`Defendant Harold Long, Bureau of Prisons inmate registration number 16421 -076,
an inmate at the Federal Correctional Institution in Memphis, filed apro se motion pursuant
to 28 U.S.C. § 2255 on March 24, 2004, accompanied by a memorandum oflaw. On July
9, 2004, Long filed a motion Seeking leave to amend his motion to assert an additional
claim. The Court issued an order on October 28, 2004 directing Long, Within thirty days,
to submit a copy of his motion bearing his original signature under penalty of perjury, as
required by Rule 2(b) of the Rules Governing § 225 5 Proceedings. Lon g filed a signed copy
of his order on November 5, 2004, along With another copy of the motion that Was filed on

July 9, 2004. As the limitations period had not expired at the time Long sought leave to

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amend, the Court issued an order on March l, 2005 granting the motion to supplementl
Subsequently, on June 16, 2005 , Long filed a supplement that cited additional authority for
one ofthe claims in his original motion.

On January 25, 1999, a federal grand jury returned a three-count indictment against
Long. The first count charged him With distribution of 45.6 grams of cocaine, in violation
of2l U.S.C. § 841 (a)(l). The second count charged him With distribution of 19.8 grams of
cocaine base, in violation of 21 U.S.C. § 84l(a)(l). The third count charged him With
distribution of 22.3 grams of cocaine base, in violation of21 U.S.C. § 84l(a)(l ). On April
7, 1999, Long entered a plea of guilty to all counts of the indictment The Court conducted
a sentencing hearing on July l, 1999, at Which time Long Was sentenced to concurrent terms
of one hundred twenty months imprisonment on each count, to be followed by a four-year
period of supervised release.I Judgment Was entered on July 7, 1999. Long filed a timely
notice of appeal, but the appeal Was dismissed for Want of prosecution. United States v.
LMg, No. 99-5990 (6th Cir. Sept. 9, 1999).

Long filed a motion on July 25, 2000 seeking leave to file an appeal out oftime, and
the Court issued an order denying the motion on July 3 l , 2000.

Long filed a motion pursuant to 28 U.S.C. § 2255 on September ll, 2000. The

 

l The three counts of conviction were grouped pursuant to § 3Dl .2(d) of the United States Sentencing
Guidelines. The total amount of crack cocaine involved in the three counts was 87.7 grams Pursuant to U.S.S.G.
§ 2Dl. l(c)(4), the base offense level for at least 50 grams but less than 150 grams of cocaine base is 32. Long was
given a three-point reduction for acceptance of responsibility, pursuant to U.S.S.G. § 3El. l, resulting in a total
offense level of29. Given his criminal history category oflIl, the guidelines provided a sentencing range of 108-
135 months.

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motion asserted that counsel afforded ineffective assistance, in violation of the Sixth
Amendment, through his failure to:

1. perfect Long’s appeal;
object to the aggregation of the drug quantity for three separate

offenses;

3. file a motion to dismiss the indictment for failure to allege a statutory
violation and to object to the district court’s resultant lack of subject-
matter jurisdiction',

4. object to a sentencing enhancement When no notice Was filed; and

5. object to a violation of the Department of Justice, United States

Attorney’s Manual due to state prosecution for the same drug offense

The Court issued an order on l\/Iarch 16, 2001 directing the Government to respond to the
motion. The Government filed its response on May 9, 2001, and Long filed a reply on June
5, 2001 . The Court issued an order on February 26, 2002 rejecting each of the issues raised
by Long except for his claim that counsel failed to perfect his direct appeal and setting an
evidentiary hearing on that remaining issue. That order also directed the magistrate judge
to appoint counsel to represent Long at the evidentiary hearing Following the evidentiary
hearing, the Court issued an order vacating Long’s sentence and directing the clerk to
prepare an amended judgment to permit Long to file a timely notice of appeal. M
United States, No. 00-1265-T (W.D. Tenn. Jan, 30, 2003). Judgment Was entered on
February 10, 2003. Long filed a timely notice of appeal, and the United States Court of
Appeals for the Sixth Circuit affirmed his sentencel United States v. Long, 83 Fed. Appx.
762 (6th Cir. Dec. 8, 2003).

Long filed another motion pursuant to 28 U.S.C. § 2255 on March 24, 2004, Which

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raises the following issues:

1. Whether his sentence was imposed m violation of the Fifth and Sixth
Amendment; and
2. Whether he received ineffective assistance of counsel on direct appeal.

In the amendment filed on July 9, 2004, Long argued that he was entitled to relief
pursuant to the Supreme Court’s decision in Blakelv v. Washington_ 124 S. Ct. 2531 (2004).
ln his June 16, 2005 filing, Long cited the Sixth Circuit’s decision in Ballard v. United
§M, 400 F.3d 404 (6th Cir. 2005), as further support for his claim that his appellate
counsel rendered ineffective assistance

lt is necessary, as a threshold matter, to determine whether the Court may consider
this motion without prior authorization from the Sixth Circuit. Paragraph 8 of § 2255
provides that “[a] second or successive motion must be certified as provided in section 2244

by a panel ofthe appropriate court of appeals.” See also 28 U.S.C. § 2244(a) (“No circuit

 

or district judge shall be required to entertain an application for a writ of habeas corpus to
inquire into the detention cfa person pursuant to a judgment of a court of the United States
if it appears that the legality of such detention has been determined by a judge or court of
the United States on a prior application for a writ of habeas corpus, except as provided in
section 2255.”). lt is, therefore, necessary to consider whether this motion is “second or
successive,” terms that are not defined by statute

There is no clear answer to this question. In 111 re Goddard, 170 F.3d 435, 438 (4th

Cir. 1999), the Fourth Circuit held that, where a prisoner uses his first § 2255 motion solely

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to reinstate his right to direct appeal, a § 2255 motion filed after the conclusion of direct
review is not “second or successive” and does not require approval from the Court of
Appeals.2 This position is shared by several other courts of appeals M In re Olabode, 325
F.3d 166 (3d Cir. 2003); Mclver v. United States, 307 F.3d 1327, 1330 (1 lth Cir. 2002);
Sher)eck v. United States, 150 F.3d 800, 801 (7th Cir. 1998) (per curiam); United States v.

Scott, 124 F.3d 1328, 1330 (10th Cir. 1997) (per curiam). Two other circuits take a contrary

 

position. See Jamison v. United States, 244 F.3d 44, 46-47 (1st Cir. 2001); United States
v. Orozco»Ramirez, 211 F.3d 862, 866-71 (5th Cir. 2000); Pratt v. United States, 129 F.3d
54, 60-63 (lst Cir. 1997).

The circuits that have not adopted a blanket rule that “when a prisoner’s first § 2255
motion is granted to reenter judgment, the ‘counter of collateral attacks pursued’ is ‘reset to
zero,”’ Goddard, 170 F.3d at 438 (quoting Shepeck, 150 F.3d at 801), differ in their
treatment of § 2255 motions filed after the conclusion of a belated direct appeal. The First
Circuit apparently holds that, “[w]here a first motion is used to reinstate a direct appeal,
reinstatement is unquestionably a grant of collateral relief on the merits and any later motion
attacking the same conviction and sentence is, in ordinary usage, a second or successive

motion.” Jamison v. United States, 244 F.3d 44, 46 (1st Cir. 2001). Thus, the First Circuit

 

2 In so holding, the Fourth Circuit noted that, “[s]ince the passage ofthe AEDPA, other courts, including
the Supreme Court, have concluded that certain § 2254 and § 2255 motions that were dismissed for reasons such an
unripeness, failure to exhaust state remedies, or failure to pay filing fees are not counted in determining whether a
later motion is ‘second or successive.”’ _l_cL The Sixth Circuit, in an unpublished opinion, has quoted this language
in Goddard with approval, although in a context different than the instant case United States v. Grass, No. 98-

l 168, 1999 WL 486567, at *2 (6th Cir. July 1, 1999) (per curiam).

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apparently does not recognize an exception for claims that could not reasonably have been

raised in the initial § 2255 motion. §§ § at 46-48; see also Sustache-Rivera v. United

 

mg 221 F.3d 8, 12-14 (6th Cir. 2000) (declining to hold that a petition is not “second or
successive” because it raises claims that could not have been presented earlier).

The Fifth Circuit, by contrast, holds that any claim raised in the second § 2255 motion
that was available to the defendant when he filed his initial § 2255 motion is “second or
successive” and is subject to dismissal as such. Orozco-Ramirez, 211 F.3d at 869.3 By
contrast, any claims that was not available at the time the initial § 2255 motion was filed,
such as a claim of ineffective assistance of counsel on direct appeal, is not “second or
successive.” l_<L at 871.

Even if Goddard were the law in the Sixth Circuit,4 this case is factually
distinguishable in that Long raised other issues in his original § 2255 motion that were
addressed on the merits. lt is likely, therefore, that his motion is “second or successive.”5
Accordingly_, this Court cannot consider the claims raised in the instant motion without leave
from the United States Court oprpeals for the Sixth Circuit. 28 U.S.C. § 2244(b)(3)(A);

see also United States v. Bender, 96 Fed. Appx. 344 (6th Cir. Apr. 26, 2004);Mc§1ueen v.

 

3 The Fifth Circuit would require a prisoner to assert all his claims in his initial § 2255 motion because he

is not in a position to know whether his claim seeking a delayed appeal would be granted l_dl at 870-71.

4 At least one district court in this circuit has followed Goddard. Cantrell v. United States` 123 F.
Supp.2d 427 (M.D. Tenn. 2000).

5 In so holding, the Court recognizes that it is beyond the control of a § 2255 movant whether a district
court chooses to decide his claim that he was denied a direct appeal as a threshold issue or considers all his claims
on the merits.

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§cgggy, 99 F.3d 1302, 1334-35 (6th Cir. 1996). Under ln re Sims, 111 F.3d 45, 47 (6th
Cir. 1997) (per curiam), “when a second or successive petition for habeas corpus relief or
§ 2255 motion is filed in the district court without § 2244(b)(3) authorization from [the
Sixth Circuit], the district court shall transfer the document to [the Sixth Circuit] pursuant
to 28 U.S.C. § 1631. j

Therefore, under w, 11 1 F.3d at 47, and 28 U.S.C. § 163 1, it is hereby ORDERED
that the Clerk transfer this motion to the United States Court of Appeals for the Sixth
Circuit.

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IT IS SO ORDERED this {#day of August, 2005.

(YWMD'@MM\

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JAMES; .roDD
UNITE sTATEs DIsTRicT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:04-CV-01058 was distributed by fax, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Harold Long

16421-076

FCI Memphis

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1\/1emphis7 TN 38184--055

Honorable J ames Todd
US DISTRICT COURT

